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 8
                                    UNITED STATES DISTRICT COURT
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                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                           OAKLAND DIVISION
11
   UNITED STATES OF AMERICA,                    ) CASE NO. 4:19-cv-04281 KAW
12                                              )
          Plaintiff,                            ) STATUS REPORT
13                                              )
       v.                                       )
14                                              )
   BTC-e, a/k/a CANTON BUSINESS CORP.,          )
15                                              )
   and                                          )
16                                              )
   ALEXANDER VINNIK,                            )
17                                              )
          Defendants.                           )
18                                              )

19          Plaintiff United States of America (the “United States”) respectfully submits this status report
20 pursuant to the Court’s Order dated April 22, 2022. See ECF No. 30.

21          As the United States previously reported to the Court, the United States completed service on
22 defendants BTC-e, a/k/a Canton Business Corp., and Alexander Vinnik (collectively, “Defendants”)

23 under Federal Rule of Civil Procedure 4(f)(1) and the Hague Service Convention on November 18,

24 2021, and Defendants’ response to the complaint was due within twenty-one (21) days thereafter, i.e., on

25 or before December 9, 2021, under Federal Rule of Civil Procedure 12(a)(1)(A)(i). Id. As of April 18,

26 2022, Defendants had failed to answer or otherwise respond to the complaint. Id. Accordingly, the

27 United States respectfully requested that the Court allow the United States to file another status report in

28 thirty (30) days, or by May 18, 2022, regarding whether Defendants have answered or otherwise

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 1 responded to the complaint, and stated that if Defendants had not responded to the complaint by that

 2 date, the United States would seek entry of default against any non-responding Defendant pursuant to

 3 Federal Rule of Civil Procedure 55. Id.

 4          To date, Defendants have failed to answer or otherwise respond to the complaint. The United

 5 States intends to seek entry of default against Defendants pursuant to Federal Rule of Civil Procedure 55

 6 no later than July 18, 2022. Should the Court require any further status updates in the meantime, the

 7 United States shall provide such updates as ordered by the Court.

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 9                                                      Respectfully submitted,

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                                                        STEPHANIE M. HINDS
11                                                      United States Attorney

12 Dated: May 18, 2022                           By:    /s/ Savith Iyengar
                                                        SAVITH IYENGAR
13                                                      Assistant United States Attorney

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